19-13190-mg   Doc 1   Filed 10/07/19    Entered 10/07/19 11:26:34   Main Document
                                       Pg 1 of 15
19-13190-mg   Doc 1   Filed 10/07/19    Entered 10/07/19 11:26:34   Main Document
                                       Pg 2 of 15
19-13190-mg   Doc 1   Filed 10/07/19    Entered 10/07/19 11:26:34   Main Document
                                       Pg 3 of 15
19-13190-mg   Doc 1   Filed 10/07/19    Entered 10/07/19 11:26:34   Main Document
                                       Pg 4 of 15
19-13190-mg   Doc 1   Filed 10/07/19    Entered 10/07/19 11:26:34   Main Document
                                       Pg 5 of 15
19-13190-mg   Doc 1   Filed 10/07/19    Entered 10/07/19 11:26:34   Main Document
                                       Pg 6 of 15
19-13190-mg   Doc 1   Filed 10/07/19    Entered 10/07/19 11:26:34   Main Document
                                       Pg 7 of 15
19-13190-mg   Doc 1   Filed 10/07/19    Entered 10/07/19 11:26:34   Main Document
                                       Pg 8 of 15
19-13190-mg   Doc 1   Filed 10/07/19    Entered 10/07/19 11:26:34   Main Document
                                       Pg 9 of 15
19-13190-mg   Doc 1   Filed 10/07/19    Entered 10/07/19 11:26:34   Main Document
                                       Pg 10 of 15
19-13190-mg   Doc 1   Filed 10/07/19    Entered 10/07/19 11:26:34   Main Document
                                       Pg 11 of 15
19-13190-mg   Doc 1   Filed 10/07/19    Entered 10/07/19 11:26:34   Main Document
                                       Pg 12 of 15
19-13190-mg   Doc 1   Filed 10/07/19    Entered 10/07/19 11:26:34   Main Document
                                       Pg 13 of 15
19-13190-mg   Doc 1   Filed 10/07/19    Entered 10/07/19 11:26:34   Main Document
                                       Pg 14 of 15
19-13190-mg   Doc 1   Filed 10/07/19    Entered 10/07/19 11:26:34   Main Document
                                       Pg 15 of 15
